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Fill in this information to identify the case:

Debtor 1                 Donald Lee Wilhold, Jr.

Debtor 2                 Pamela Marie Wilhold
(Spouse, if filing)


United States Bankruptcy Court for the:                 Southern               District of          Illinois
                                                                                              (State)

Case number            14-30858-lkg




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                                         10/15
 According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.

  Part 1:             Mortgage Information
                              U.S. Bank National Association, as Trustee for
                              Residential Asset Securities Corporation, Home
                              Equity Mortgage Asset-Backed Pass-Through
Name of creditor:             Certificates, Series 2005-KS10                                                   Court claim no. (if known)   6

Last 4 digits of any number you use to identify the debtor’s account:                        7062

Property address:             308 Troy Avenue
                              Number         Street


                              Troy                            IL               62294
                              City                            State          Zip Code



Part 2:               Prepetition Default Payments
     Check one:
      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim.

      Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
       of this response is:


Part 3:               Postpetition Mortgage Payment
     Check one:
      Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          The next postpetition payment from the debtor(s) is due on:             08/01/2019
                                                                                MM / DD / YYYY

      Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
       of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          Creditor asserts that the total amount remaining unpaid as of the date of this response is:
          a. Total postpetition ongoing payments due:                                                                   (a)

          b. Total fees, charges, expenses, escrow, and costs outstanding:                                     +        (b)


          c. Total. Add lines a and b.                                                                                  (c)

          Creditor asserts that the debtor(s) are contractually
          obligated for the postpetition payment(s) that first became
          due on:
                                                                        MM / DD / YYYY

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Debtor 1              Donald Lee Wilhold, Jr.                                                Case number (if known)   14-30858-lkg
                    First Name        Middle Name         Last Name



Part 4:         Itemized Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:
        all payments received;
        all fees, costs, escrow, and expenses assessed to the mortgage; and
        all amounts the creditor contends remain unpaid.



Part 5:         Sign Here

The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.
Check the appropriate box:

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



x       /s/ Peter C. Bastianen                                                                      Date        7/30/2019
    Signature



Print                  Peter C. Bastianen                                                           Title      Attorney for Creditor
                       First Name           Middle Name               Last Name



Company                Codilis & Associates, P.C.


If different from the notice address listed on the proof of claim to which this response applies:


Address                15W030 North Frontage Road, Suite 100
                       Number          Street



                       Burr Ridge                          IL              60527
                       City                                State           ZIP Code



Contact phone          (630) 794-5300                                                               Email      bankruptcy@il.cslegal.com

                                                                                                                                           File #14-07-7798




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                                           CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
July 30, 2019 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour
of 5:00 PM on July 30, 2019.

Russell C. Simon, Chapter 13 Trustee, 24 Bronze Pointe, Swansea, IL 62226 by electronic notice through ECF
Donald Lee Wilhold, Jr., Pamela Marie Wilhold, Debtor(s), 308 Troy Ave., Troy, IL 62294
Ronald Allan Buch, Attorney for Debtor(s), 5312 W Main St , Belleville, IL 62226 by electronic notice
through ECF
Office of U.S. Trustee, 401 Main St., #1100, Peoria, IL 61602 by electronic notice through ECF




                                                           /s/ Peter C. Bastianen


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Karl V. Meyer ARDC#6220397
Grant W. Simmons ARDC#6330446
MaryAnn G. Black #59899MO
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300)
 C&AFILE# (14-07-7798)

NOTE: This law firm is a debt collector.
